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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 AT


                                                                                      PLAINTIFF


V.                                                  CASE NUMBER:


                                                                                    DEFENDANT




                     NOTICE OF FILING OF OFFICIAL TRANSCRIPT

       Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. The parties have seven (7) calendar
days to file with the court a Notice of Intent to Request Redaction of this transcript. If no such
Notice is filed, the transcript may be made remotely electronically available to the public without
redaction after 90 calendar days.


       Any party needing a copy of the transcript to review for redaction purposes may purchase
a copy from the court reporter/transcriber or view the document at the clerk’s office public
terminal.


       See attached Notice regarding Redaction Responsibility of Counsel and Parties for
further direction.




                                                      s\
                                                              Deputy Clerk
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                                         UNITED STATES DISTRICT COURT
                                           FOR THE
                           EASTERN AND WESTERN DISTRICTS OF KENTUCKY

              NOTICE REGARDING ELECTRONIC AVAILABILITY OF OFFICIAL COURT TRANSCRIPTS
                      AND THE REDACTION RESPONSIBILITY OF COUNSEL AND PARTIES

        Effective May 15, 2008 and in accordance with Judicial Conference Policy1, the Eastern and
Western Districts of Kentucky will implement the following policy regarding official court transcripts.
Transcripts filed electronically will be restricted from remote public access for a period of 90 calendar
days. This Notice outlines the duties of counsel and the parties regarding redaction of personal identifiers
and the procedure for doing so before the transcript is made electronically available to the public.

          The responsibility for redacting official court transcripts rests solely with counsel
          and the parties, including pro se parties. Redaction responsibilities apply even if the
          requestor of the transcript is a judge or a member of the public. The Court, the
          Clerk and/or the Court Reporter will not review the transcript for compliance with
          this policy or applicable rules.

         Whenever a Court Reporter files an official transcript with the Court, the Clerk’s Office will file a
Notice of Filing an Official Transcript. Within seven (7) business days2 following the filing of the
transcript, counsel and the parties must file a Notice of Intent to Request Redaction3, mailing a copy of the
Notice to the Court Reporter. Because the Notice will be made electronically available, do not include
any personal identifiers in your Notice. If counsel and the parties fail to file a Notice, the Court will
assume that redaction of personal identifiers is not necessary.

         Inspection of transcripts for the purpose of redaction is available at the Clerk’s Office to parties,
attorneys, and members of the public. Requests for copies of transcripts during this restricted period,
however, must be made directly to the Court Reporter, who prepared the transcript. The docket entry in
CM/ECF will identify the Court Reporter, who prepared the transcript. Only attorneys for a party in a
case, who have obtained the transcript from the Court Reporter, may obtain remote electronic access to the
transcript through the Court’s CM/ECF system.4

        Pursuant to Fed. R. Civ. P. 5.2, Fed. R. Cr. P. 49.1, and Joint General Order Number 04-01 for the
United States District Courts for the Eastern and Western Districts of Kentucky, it is the responsibility of
        counsel and the parties to review the transcript for redaction purposes.5 Only the following

          1
            The Judicial Conference of the United States is charged, among other things, to “promote uniformity of management
procedures and the expeditious conduct of court business,” in part by “a continuous study of the operation and effect of the general
rules of practice and procedure,” and to recommend changes that would “promote simplicity in procedure, fairness in administration,
the just determination of litigation, and the elimination of unjustifiable expense and delay. . . . .” See 28 U.S.C. § 331.

          2
           During the March 2008 session, The Judicial Conference approved revisions to its Policy on Privacy and Public Access to
Electronic Case Files (Privacy Policy,) which expanded the time within which attorney must notify the Court that they will seek
redactions from five to seven calendar days after the transcript is delivered to the Court.

          3
          An ECF Filing User shall electronically file the notice via CM/ECF by selecting the event “Notice of Intent to Request
Redaction.”

          4
           PACER fees apply when remotely accessing the transcript. Charges accrue for the entire transcript rather than being
capped at 30 pages. There is no free look.

          5
            In cases where “standby” counsel is appointed to be available to assist a pro se defendant in his or her defense, such
counsel is only responsible for reviewing for redaction and providing any redactions to the Court Reporter, the testimony of witnesses
called by the defendant as well as the defendant’s opening and closing statements.
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personal identifiers may be redacted without further permission from the Court:

         1.        Social Security numbers;
         2.        Names of Minor Children;
         3.        Dates of Birth;
         4.        Financial Account Numbers; and
         5.        Home Addresses (applicable in criminal cases).

         Leave of Court is required for redaction of additional information not listed above. The transcript
will not be electronically available until the Court has ruled on any such motion.

         Unless otherwise ordered by the Court, counsel and the parties must review the following portions
of the transcript for redaction purposes:

         •         The Opening and Closing Statements Made on the Party’s Behalf;
         •         The Statements of the Party;
         •         The Testimony of Witnesses Called by the Party; and
         •         Sentencing Proceedings6
         •         Any Other Portion of the Transcript as Ordered by the Court.

        Within twenty-one (21) calendar days following the filing of the transcript, or longer if the Court
so orders, counsel and the parties must submit to the Court Reporter a Statement of Redaction, indicating
where personal identifiers appear in the transcript by page and line and how they are to be redacted.

         EXAMPLE. If a party needs to have a Social Security Number redacted, the statement would
         read: Social Security Number on page 12, line 9 of the transcript should be redacted to read xxx-
         xx-6789.

        The Statement of Redaction shall not be filed in the official record. All efforts shall be made to
keep the actual personal identifiers confidential.

         When the Statement of Redaction is submitted to the Court Reporter, a certificate of service shall
be filed in the official record and served upon all parties in a case. The certificate shall state that the
Statement of Redaction has been submitted to the Court Reporter.

       Within ten (10) calendar days following submission of the Statement of Redaction to the Court
Reporter, the Court Reporter must file the redacted transcript with the Clerk of Court.

        This policy applies only to transcripts of federal courtroom proceedings. Other transcripts, such as
those taken at deposition and thereafter filed, are subject to the redaction requirements mandated by the
Federal Rules of Civil and Criminal Procedure as well as Joint General Order Number 04-01.

       Counsel and parties are admonished that it is possible to avoid the necessity of redactions
and prevent harmful disclosure of personal data identifiers by not eliciting or mentioning such
information during hearings or trial.




         6
           During the March 2008 session, The Judicial Conference approved revisions to its Policy on Privacy and Public Access to
Electronic Case Files (Privacy Policy,) which require both the government and the defendant to review transcripts of sentencing
proceedings.
